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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12    IN RE: QUALCOMM ANTITRUST                           Case No. 17-MD-02773-LHK
Northern District of California
 United States District Court




                                        LITIGATION
                                  13                                                        CASE MANAGEMENT ORDER
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                                       Plaintiffs’ Attorneys: Kalpana Srinivasan, Rio Pierce
                                  18   Defendant’s Attorney: Gary Bornstein, Justina Sessions
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                                              A further case management conference was held on April 6, 2018. A further case
                                  20   management conference is set for April 24, 2018, at 2:00 p.m. The parties shall file their joint
                                       case management statement by April 23, 2018 at 5:00 p.m.
                                  21
                                              The Court granted the parties’ request to extend the deadline to file motions to compel fact
                                  22   discovery to May 18, 2018. ECF No. 425 at 8–9.
                                  23
                                              The Court ordered Qualcomm to complete its privilege re-review of documents for Mr.
                                  24   Aberle by May 2, 2018.

                                  25          The parties and the Court discussed Plaintiffs’ March 20, 2018 first amended notice of
                                       Qualcomm’s Rule 30(b)(6) deposition. As to topics 6 and 7, the Court allowed Plaintiffs to
                                  26   include Foxconn, TCL, and Lenovo. The Court also allowed Plaintiffs to include subtopic (a)
                                  27   “methods of assessing FRAND royalty rates”; subtopic (b) “any and all rights that Qualcomm’s
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                                       Case No. 17-MD-02773-LHK
                                       CASE MANAGEMENT ORDER
                                       chipset customers receive to third-party intellectual property” as limited to the specific companies
                                   1   identified by name in paragraph 26 and the three entities—Foxconn, TCL, and Lenovo—listed
                                   2   above; and subtopic (c) “transaction-level data detailing individual payments by all of
                                       Qualcomm’s licensees.” See ECF No. 425 at 13.
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                                              As discussed at the case management conference, the Court approved the parties’
                                   4   deposition schedule:
                                              Liren Chen – April 16, 2018
                                   5          Alex Katouzian – April 17 and 18, 2018
                                   6          Paul Jacobs – April 17 and 18, 2018
                                              Ericsson employees Martin Zander and Christina Petersson – April 19 and 20, 2018
                                   7          Derek Aberle – April 20, 2018
                                              Jeffrey Altman – Week of May 21, 2018
                                   8
                                              The parties shall depose Edward Tiedemann by April 20, 2018.
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                                  10          The Court amended the case schedule as follows:

                                  11       Scheduled Event                                           Date
                                  12       Further Case Management Conference                        April 24, 2018 at 2:00 p.m.
Northern District of California
 United States District Court




                                           Deadline to File Motions to Compel Fact Discovery         May 18, 2018
                                  13
                                           Plaintiffs Deadline to File Motion for Class              July 5, 2018
                                  14       Certification and Supporting Expert Declarations
                                  15       Qualcomm Deadline to File Opposition to Motion for        August 9, 2018
                                           Class Certification and Supporting Declarations and
                                  16       Qualcomm Deadline to File Daubert Motion
                                  17       (one Daubert motion per side)

                                  18       Plaintiffs Deadline to File Daubert Motion                August 23, 2018
                                           (one Daubert motion per side)
                                  19
                                           Plaintiffs Deadline to Oppose Qualcomm Daubert            August 30, 2018
                                  20       Motion
                                  21       Plaintiffs Deadline to File Reply in Support of Motion    September 6, 2018
                                           for Class Certification
                                  22
                                           Qualcomm Deadline to Oppose Plaintiffs’ Daubert           September 10, 2018
                                  23       Motion

                                  24       Class Certification Hearing                               September 27, 2018, at 1:30 p.m.
                                           Plaintiffs’ Expert Reports                                October 26, 2018
                                  25
                                           Qualcomm’s Expert Reports                                 November 16, 2018
                                  26
                                           Plaintiffs’ Rebuttal Expert Reports                       December 7, 2018
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                                       Case No. 17-MD-02773-LHK
                                       CASE MANAGEMENT ORDER
                                          Close of Expert Discovery                            December 28, 2018
                                   1
                                          Last Day to File Dispositive Motions and Daubert      Motion: January 24, 2019
                                   2
                                          (one dispositive motion per side, two Daubert motions Opposition: February 21, 2019
                                                                                                Reply: March 11, 2019
                                   3      per side)
                                          Hearing on Dispositive Motions                       April 4, 2019, at 1:30 p.m.
                                   4
                                          Final Pretrial Conference                            June 6, 2019, at 1:30 p.m.
                                   5      Jury Trial                                           June 24, 2019, at 9:00 a.m.
                                   6      Length of Trial                                      8 days
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                                   8   IT IS SO ORDERED.

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                                  10   Dated: April 6, 2018

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                                                                                   LUCY H. KOH
                                  12                                               United States District Judge
Northern District of California
 United States District Court




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                                       Case No. 17-MD-02773-LHK
                                       CASE MANAGEMENT ORDER
